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 8                              UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   Valerie Brooks, et al.,                                No. 2:19-CV-01687-KJM-CKD
12                              Plaintiffs,                 ORDER
13           v.
14
     Pressed Juicery, Inc., et al.,
15
                                Defendants.
16

17          This court previously preliminarily approved the parties’ proposed class action settlement

18   and approved conditional certification of the settlement classes as described in detail in its

19   previous order. See Order (September 16, 2020), ECF No. 24. Following the order granting
20   preliminary approval, the parties came to a new settlement with all the same terms as the court

21   previously approved but with an additional $112,500 settlement fund. Jt. Not. Mot. Prelim.

22   Approval at 1, ECF No. 28-1; Am. Settlement ¶¶ II.b, VII, VIII, ECF No. 28-1. Of the $112,500,

23   up to $35,000 will be awarded to class counsel for attorneys’ fees and costs. Am. Settlement

24   ¶ VIII. Additionally, this amount will fund the $2,500 to the named plaintiff and class

25   representative the parties previously agreed to. Id. ¶ VII . The remaining $75,000 will be

26   distributed to class members who make timely claims demonstrating attempts to use the

27   defendant’s website or mobile application. Id. ¶ 2.c. Each class member will be entitled to a

28   share proportional to the number of valid claimants, but California class members may receive up

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1    to three times their pro-rata share not to exceed $1,000. Id. ¶ 2.c. The proposed amended

2    settlement does not change the amount provided to the attorneys in fees and costs, nor to the

3    named plaintiff.

4              As this additional settlement fund does not increase the attorneys’ fees nor the named

 5   plaintiff’s award the court preliminarily approved in its prior order, the court finds this additional

 6   term does not change its prior holding that the proposed settlement is sufficiently fair and

 7   equitable. Order at 9–11. At the final hearing, plaintiffs’ counsel should be prepared to discuss

 8   why they did not seek the settlement fund earlier in the parties’ discussions.

 9   I.        CONCLUSION

10             The motion for preliminary approval is granted. This order resolves ECF Nos. 26 & ECF

11   No. 30.

12             IT IS SO ORDERED.

13   DATED: September 29, 2021.




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